 Case: 5:05-cr-00131-JG Doc #: 872 Filed: 07/10/06 1 of 2. PageID #: 2688




IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




 ---------------------------------------------       :
 UNITED STATES OF AMERICA                            :
                                                     : CASE NO. 5:05CR131-54
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     :
 JOSEPH M. ALVELO                                    : ORDER ACCEPTING PLEA AGREEMENT
                                                     : AND JUDGMENT AND NOTICE OF
                                      Defendant      : HEARING
 ---------------------------------------------       :

UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge William H. Baughman, Jr. regarding the change of plea hearing

and plea agreement of Joseph M. Alvelo which was referred to the Magistrate Judge

with the consent of the parties.

       On 16 March 2005, the government filed a one-count indictment against Joseph

M. Alvelo for conspiracy to possess with the intent to distribute and distribution of

controlled substances in violation of 21 U.S.C. § 846. On 12 May 2005, a hearing was

held in which Joseph M. Alvelo entered a plea of not guilty before Magistrate Judge

David S. Perelman. On 16 June 2006, Magistrate Baughman received Joseph M.

Alvelo’s plea of guilty and issued a Report and Recommendation (“R&R”) concerning

whether the plea should be accepted and a finding of guilty entered.
 Case: 5:05-cr-00131-JG Doc #: 872 Filed: 07/10/06 2 of 2. PageID #: 2689




       Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

       On de novo review of the record, the Magistrate Judge's R&R is adopted.

Joseph M. Alvelo is found to be competent to enter a plea. He understands his

constitutional rights. He is aware of the charges and of the consequences of entering a

plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

       Therefore, Joseph M. Alvelo is adjudged guilty of Count One in violation of 21

U.S.C. § 846.

       Sentencing will be:

                       5 September 2006 at 11:00 a.m.

                       Courtroom 18-A
                       18th Floor the United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113


       IT IS SO ORDERED.


                                         /s/Lesley Wells
                                         UNITED STATES DISTRICT JUDGE

Dated: 10 July 2006




                                           2
